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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 SAMSUNG ELECTRONICS                          §
 AMERICA, INC.,                               §
                                              §
         Plaintiff,                           §
                                              §
 v.                                           §          Civil Action No. 3:15-cv-04108-D
                                              §
 YANG KUN “MICHAEL” CHUNG,                    §
 THOMAS PORCARELLO, YOON-                     §
 CHUL “ALEX” JANG, JIN-YOUNG                  §
 SONG, ALL PRO DISTRIBUTING,                  §
 INC.,                                        §
                                              §
         Defendants.                          §

         PLAINTIFF SAMSUNG ELECTRONICS AMERICA, INC.’S REPLY TO
      DEFENDANT YANG KUN “MICHAEL” CHUNG’S ANSWER TO PLAINTIFF’S
            MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE


TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE:

         Plaintiff Samsung Electronics America, Inc. (“Samsung”) files this Reply to Defendant

 Yang Kun “Michael” Chung’s (“Chung”) Answer to Plaintiff’s Motion for Sanctions for

 Spoliation of Evidence [Dkt. 383] (the “Response”). The Court referred Samsung’s Motion for

 Sanctions for Spoliation of Evidence [Dkt. 372] (the “Motion”) to the Honorable Magistrate

 Judge by Order dated March 14, 2019 [Dkt. 385].

         The Motion focuses on diaries Chung kept for the years 2011 to 2015, while working

 with Samsung. At deposition on July 3, 2018, Chung admitted that he kept yearly diaries

 containing Samsung and other information in small books provided by Samsung and that he

 relied on the information in these diaries in drafting his First Amended Answer [Dkt. 172].

 Chung also indicated during this deposition that he would work with Samsung to provide copies


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OF ITS MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE                                   Page 1
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 of the diaries. At his second deposition, on August 29, 2018, however, Chung claimed he had

 lost the diaries. He admitted again, though, that he had relied on the diaries in drafting his First

 Amended Answer and that he believed he had possession of the diaries at the time of the first

 deposition. Chung had acknowledged during the first deposition, too, that he should not destroy

 evidence related to the lawsuit.

        Chung’s Response does little more than support Samsung’s Motion. Chung admits in

 the Response “he kept yearly diaries . . . from 2011 to 2015 and that he relied upon those diaries

 in preparing his First Amended Answer[,]” filed in 2017 [Dkt. 383 at 1]. Chung’s Response also

 further illustrates Samsung’s main point: the diaries once were in Chung’s possession during

 the litigation, and now they are gone [Dkt. 383 at 2]. And yet Chung offers no explanation for

 their absence. Chung states only that he “had thought the diaries had been in his traveling bag

 after his return from Korea” and that “he has found he doesn’t have [the] diaries” [Dkt. 383 at

 2].

        A party must preserve evidence related to litigation prior to litigation and pending its

 conclusion. Rimkus Consulting Grp., Inc. v. Cammarata, 688 F. Supp. 2d 598, 612 (S.D. Tex.

 2010). Where a party willfully and in bad faith spoliates evidence and, in doing so, prejudices

 the other party, a court may levy proportionate sanctions. Ashton v. Knight Transp., Inc., 772

 F. Supp. 2d 772, 800-01 (N.D. Tex. 2011). In determining whether it should impose sanctions,

 a court may infer bad faith from the circumstances, and may consider loss of evidence an

 intentional act of spoliation. Quantlab Techs. Ltd. (BGI) v. Godlevsky, No 4:09-cv-4039, 2014

 WL 651944, at *2 (S.D. Tex. Feb. 19, 2014). Even “plausible . . . suggestions” of harm from

 the loss of the evidence, if “concrete[,]” will suffice to demonstrate prejudice. Centimark Corp.

 v. Pegnato Roof Mgmt., Inc., No. 05-708, 2008 WL 1995305, at *7 (W.D. Pa. May 6, 2008).


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        It is undisputed here that Chung had the diaries during litigation (and even possibly as

 late as his first deposition on July 3, 2018), but does not have them anymore. Not only did Chung

 admit at each of his depositions that he had the diaries and relied upon them in drafting his First

 Amended Answer (well after this litigation commenced), he reiterates as much in his Response.

 Given that Chung has consistently represented to Samsung and the Court that he had the diaries

 during the litigation, relied on them in drafting pleadings, and has since lost, destroyed, or

 otherwise misplaced them, the Court should find these admissions binding on Chung. Stallard

 v. United States, 12 F.3d 489, 495-96 (5th Cir. 1994) (concluding the United States bound itself

 by judicial admission to its repeated representations regarding the timing of an assessment to

 that admission as a matter of law).

        Further, the Court should infer Chung acted in bad faith in losing, destroying, or

 misplacing the diaries. Chung offers no explanation in his Response or otherwise for the diaries’

 absence, and he admits the diaries contained relevant information. The record accordingly offers

 concrete proof the diaries contained information germane to this litigation (whether helpful to

 Samsung’s case or harmful to Chung’s) but is bare as to the reasons why the diaries have gone

 missing. This despite Chung’s representation during the first deposition he would work with

 Samsung’s counsel to have copies of the diaries made and his having had an opportunity

 (through his Response) to offer additional explanation. Under the circumstances, the jury should

 hear evidence of Chung’s misconduct and be given the opportunity to draw an adverse inference

 based on same.

        Based on the foregoing and the arguments in its Motion, Samsung respectfully requests

 that the Court grant its Motion for Sanctions for Spoliation of Evidence [Dkt. 372] and order

 that the jury be permitted (a) to hear evidence Chung spoliated evidence and (b) to draw an


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 adverse inference based on same.

                                    Respectfully submitted,

                                    BELL NUNNALLY & MARTIN LLP

                                    By: /s/ Benjamin L. Riemer
                                            Jeffrey J. Ansley
                                            State Bar No. 00790235
                                            jansley@bellnunnally.com
                                            Jeffrey S. Lowenstein
                                            Texas Bar No. 24007574
                                            jlowenstein@bellnunnally.com
                                            Benjamin L. Riemer
                                            State Bar No. 24065976
                                            briemer@bellnunnally.com

                                    2323 Ross Avenue, Suite 1900
                                    Dallas, Texas 75201
                                    Telephone: (214) 740-1400
                                    Facsimile: (214) 740-1499

                                    ATTORNEYS FOR PLAINTIFF
                                    SAMSUNG ELECTRONICS AMERICA, INC.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 25, 2019, I electronically filed the foregoing document with
the Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the Court, which will send notification to all parties of record.

                                                      /s/ Benjamin L. Riemer
                                                      Benjamin L. Riemer

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PLAINTIFF SAMSUNG ELECTRONICS AMERICA, INC.’S EMERGENCY MOTION
TO EXTEND RESPONSE DEADLINE FOR MOTION TO COMPEL                                              Page 5
